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     In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                         No. 13-566V
                                     Filed: April 7, 2016
*************************
KATHLEEN SCHRAM,           *
                           *
               Petitioner, *                                             Decision Based on Stipulation;
v.                         *                                             Irritable Bowel Syndrome;
                           *                                             Fibromyalgia; Myalgias; Chronic
                           *                                             Pain; Dizziness; Headaches;
SECRETARY OF HEALTH        *                                             Cognitive Impairments; Chronic
AND HUMAN SERVICES,        *                                             Debilitating Fatigue; Influenza
                           *                                             (“Flu”) Vaccine.
               Respondent. *
*************************

Edward Kraus, Law Offices of Chicago Kent, Chicago, IL, for petitioner.
Michael Milmoe, U.S. Department of Justice, Washington, DC, for respondent.

                                 DECISION ON JOINT STIPULATION1

Roth, Special Master:

        Kathleen Schram [“petitioner”] filed a petition for compensation under the National
Vaccine Injury Compensation Program2 on August 9, 2013. Petitioner alleges that she developed
several conditions, including irritable bowel syndrome, fibromyalgia, myalgias, chronic pain,
dizziness, headaches, cognitive impairments, and chronic debilitating fatigue after receiving a flu
immunization on or about September 16, 2010. See Stipulation, filed April 6, 2016 at ¶¶ 1-4.
Respondent denies that the influenza vaccine caused petitioner to suffer any injury and that her
current disabilities are a sequela of the vaccine-related injury. Stipulation at ¶ 6.

         Nevertheless, the parties have agreed to settle the case. On April 6, 2016, the parties filed
a joint stipulation agreeing to settle this case and describing the settlement terms.
1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to post this
decision on the United States Court of Federal Claims' website, in accordance with the E-Government Act of 2002,
Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). In
accordance with Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review, I agree that the
identified material fits within the requirements of that provision, I will delete such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease of
citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa (2012).
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Respondent agrees to issue the following payment:

             A lump sum of $45,000.00 in the form of a check payable to petitioner, Kathleen
             Schram. This amount represents compensation for all damages that would be
             available under § 300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The clerk of the court is directed to enter judgment in
accordance with this decision.3

IT IS SO ORDERED.

                                   s/ Mindy Michaels Roth
                                      Mindy Michaels Roth
                                      Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice renouncing the
right to seek review.

                                                         2
